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     Settlement Class
13
14                      UNITED STATES DISTRICT COURT
15                    CENTRAL DISTRICT OF CALIFORNIA

16
17   In re Ring LLC Privacy Litigation        Master File No.: 2:19-cv-10899 MWF
                                              (RAOx)
18
     This Document Relates To:                PLAINTIFFS’ NOTICE OF
19   All Actions.                             MOTION AND MOTION FOR
20                                            FINAL APPROVAL OF CLASS
                                              ACTION SETTLEMENT
21
                                              DATE: April 1, 2024
22                                            TIME: 10:00 a.m.
23                                            JUDGE: Hon. Michael W. Fitzgerald
                                              CTRM: 5A
24
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26
27
28
              PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR FINAL APPROVAL
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                                     NOTICE OF MOTION
 1
           TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2
 3         PLEASE TAKE NOTICE that on April 1, 2024, at 10:00 a.m., in Courtroom 5A

 4   of the above-captioned Court before the Honorable Michael W. Fitzgerald, Plaintiffs

 5   Marco Mariutto, Yolanda Martinez, Jeannette Pantoja, Johnny Powell, and Abhi Sheth
 6   (collectively, “Plaintiffs”), will and hereby do move for an Order Granting Final Approval
 7   of Class Action Settlement, pursuant to the Class Action Settlement Agreement filed on
 8   September 22, 2023 (Dkt. 268).
 9         This Motion is based upon this Notice of Motion and Motion, the accompanying
10   Memorandum of Points and Authorities, the concurrently filed Declarations of Tina
11   Wolfson, Daniel S. Robinson, and Hassan A. Zavareei, the previously filed Class Action
12   Settlement Agreement, all papers filed in support thereof, and such evidence and argument
13   as the Court may consider.
14
15   Dated: March 4, 2024                         Respectfully submitted,
16
                                                  /s/ Tina Wolfson
17                                                Tina Wolfson (SBN 174806)
18                                                Theodore W. Maya (SBN 223242)
                                                  Bradley K. King (SBN 274399)
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 1                  MEMORANDUM OF POINTS AND AUTHORITIES
 2                                 I.     INTRODUCTION
 3         Plaintiffs respectfully seek final approval of the proposed class action Settlement
 4 with Defendant Ring LLC (“Ring”).1 The terms of the proposed Settlement are fair,
 5 reasonable, and adequate, as the Court had found when it preliminarily approved the
 6 Settlement. No Class Member has expressed any concern over the Settlement, and the
 7 Court should grant final approval.
 8         The Settlement provides meaningful relief to all Class Members designed to
 9 address Ring’s alleged data sharing practices. If approved, the Settlement will impose
10 long-lasting, enforceable mandates on Ring to provide all existing and future Ring
11 subscribers with adequate disclosures of Ring’s third-party data sharing practices, as well
12 as the opportunity to opt out of such sharing while still utilizing Ring’s products and
13 services. Importantly, the proposed Settlement is poised to deliver meaningful injunctive
14 relief without further delay or expense and does not impact any Class Member’s ability
15 to pursue monetary damages against Ring through separate litigation.
16         The Settlement was achieved after nearly two years of hard-fought litigation and
17 then two additional years of contentious, well-informed, arm’s-length negotiations and
18 mediation facilitated by the Honorable Jay C. Gandhi (Ret.), with extensive further
19 negotiations between experienced counsel. Prior to settlement, the Court had granted
20 Ring’s motion to compel arbitration for all but the Non-Purchaser Plaintiffs, and even the
21 Non-Purchaser Plaintiffs faced the risk of Ring’s pending appeal of the Court’s order
22 denying arbitration of their claims. Plaintiffs faced these adverse rulings and additional
23 risks of litigation, such as class certification and summary judgment proceedings, as they
24 negotiated settlement.
25         The Court preliminarily approved the proposed Settlement on December 20, 2023.
26 Dkt. 271. By this Motion, Plaintiffs respectfully request that the Court conduct a final
27
     1
    Unless otherwise defined, capitalized terms herein have the meaning set forth in the
28 Class Action Settlement Agreement (“SA” or “Settlement”). Dkt. 268.
                                            -1-
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 1 review of the Settlement, and approve the Settlement as fair, reasonable, and adequate.
 2                                  II.     BACKGROUND
 3         Plaintiffs zealously litigated this case through Interim Co-lead Counsel for the
 4 class, Tina Wolfson of Ahdoot & Wolfson, PC, Hassan A. Zavareei of Tycko & Zavareei
 5 LLP, and Daniel S. Robinson of Robinson Calcagnie, Inc. (together, “Plaintiffs’ Counsel”
 6 or “Co-Lead Counsel”), whom the Court had appointed after a leadership application
 7 contest. Co-Lead Counsel (i) conducted a wide-ranging factual and legal investigation
 8 into the Settlement Class’s claims; (ii) filed two comprehensive consolidated complaints
 9 in this action (not including the earlier complaints filed in each plaintiff’s initial actions
10 preceding consolidation); (iii) successfully opposed Ring’s motion to compel arbitration
11 as to certain Plaintiffs; (iv) engaged in significant discovery; (v) consulted with experts;
12 (vi) prepared for class certification briefing; (vii) initiated multiple separate arbitration
13 proceedings; and (viii) engaged in mediation with Ring overseen by the Honorable Jay C.
14 Gandhi (Ret.), including the exchange of significant information in connection with such
15 mediation, and many other tasks. As a result, Plaintiffs and Class Counsel had a thorough
16 understanding of the relative strengths and weaknesses of the claims asserted at the time
17 the Settlement was reached.
18         A.    The Litigation and Plaintiffs’ Efforts on Behalf of the Settlement Class
19         Between December 2019 and February 2020, four class action complaints were
20 filed against Ring alleging various state and federal claims for misrepresentations and
21 violations of Ring customers’ security and privacy. In addition to claims arising from
22 alleged hacking incidents involving unauthorized access to users’ home Ring camera
23 systems, Plaintiffs alleged that Ring surreptitiously collected and shared the sensitive
24 Personal Information of its customers—including device and location tracking data—
25 with numerous third parties such as Facebook without sufficient notice or consent.
26         On February 11, 2020, this Court issued an order consolidating the actions and, on
27 November 13, 2020, appointed Interim Co-Lead Counsel after reviewing competing
28 applications. Dkts. 19, 64. On December 17, 2020, after thoroughly vetting all potential
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 1 named plaintiffs represented by all counsel who had filed the original actions, Co-Lead
 2 Counsel filed a consolidated amended class action complaint (“CAC”), which included
 3 41 named Plaintiffs from across the United States. Dkt. 69. On February 5, 2021, Ring
 4 filed a motion to compel Plaintiffs to arbitrate their claims on an individual basis and to
 5 stay the litigation, which Plaintiffs opposed.2 Dkts. 82, 89.
 6         Plaintiffs successfully opposed Ring’s motion to stay discovery pending Ring’s
 7 motion to compel arbitration. Dkts. 75, 80. The Parties exchanged initial disclosures and
 8 later extensively negotiated a protective order and ESI protocol. Dkts. 108-10.
 9         On June 24, 2021, the Court granted in part Ring’s motion to compel arbitration
10 because it determined the arbitration agreement delegated the issue of arbitrability to an
11 arbitrator for all Plaintiffs except the “Non-Purchaser Plaintiffs”:
12            The Purchaser Plaintiffs who made a Ring account using the Ring App or
13            Website were on inquiry notice of Ring’s Terms of Service. Therefore, the
              arbitration clause with respect to these Plaintiffs is enforceable. Because
14            the Terms contained a delegation provision, the Court does not address
              Plaintiffs’ arguments that the arbitration clause is unconscionable or
15            otherwise unenforceable. However, the Non-Purchaser Plaintiffs are not
              bound by the agreement. They are not “Authorized Users” under the Terms
16            of Service and their guardians’ assent to the Terms’ arbitration clause does
17            not bind them.

18 Dkt. 113 (“Arb. Order”). Plaintiffs also opposed another stay motion by Ring pending its
19 appeal of the arbitration order. Dkts. 125, 139.
20         On August 23, 2021, Plaintiffs filed the operative Second Amended Class Action
21 Complaint (“SAC”), which acknowledged the stay of all Purchaser Plaintiffs’ claims,
22 while reasserting allegations of the Non-Purchaser Plaintiffs, comprised of minor children
23 and an elderly woman in her daughter’s care, and advanced claims for negligence,
24 violation of the UCL, breach of implied contract, unjust enrichment, invasion of privacy
25 under the California Constitution and common law, violation of the CLRA, and breach of
26    2
     For the purposes of the Motion, the parties distinguished between those Plaintiffs who
27 purchased  the Ring devices themselves (the “Purchaser Plaintiffs”), and those who were
   allegedly harmed by Ring devices but did not personally purchase them (the “Non-
28 Purchaser Plaintiffs”). Dkts. 83, 89.
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 1 the implied warranty of merchantability. Dkt. 132.
 2         The Purchaser Plaintiffs each filed separate arbitration demands to preserve and
 3 advance their claims. See concurrently filed Declaration of Tina Wolfson in Support of
 4 Plaintiffs’ Motion for Final Approval of Class Action Settlement and Motion for
 5 Attorneys’ Fees, Costs, Expenses, and Service Awards (“Wolfson Decl.”) ¶ 14.
 6         Plaintiffs allege that Ring promised users that it takes cybersecurity and privacy
 7 seriously and will safeguard users’ private information. SAC ¶¶ 2, 379-80. Plaintiffs
 8 further allege that, to the contrary, Ring actively shared users’ sensitive PII and other
 9 private information with third-party web and app analytics providers without first
10 obtaining the customers’ informed consent. Id. ¶¶ 327-46.
11         Plaintiffs opposed Ring’s motion to dismiss the SAC, which was set for hearing
12 prior to the Court’s continuances pending the Parties’ settlement discussions. Dkts. 149,
13 154-55, 160, 165-66.
14         On May 20, 2021, Plaintiffs served their first set of requests for production of
15 documents. After Ring served its initial objections and responses, the Parties engaged in
16 extensive conferral regarding Plaintiffs’ requests for production that resulted in Ring
17 supplementing its initial responses on July 6, 2021.
18         The Parties ultimately reached an impasse and brought a dispute to this Court
19 regarding several requests for production propounded by Plaintiffs. Id. On December 15,
20 2021, Magistrate Judge Rozella A. Oliver held an informal discovery hearing regarding
21 the dispute and ordered the Parties to submit additional letter briefing. Dkt. 147. This
22 briefing was continued and then stayed pending the Parties’ settlement in principle. Dkts.
23 154, 160, 166, 185.
24         The Parties conferred extensively regarding Plaintiffs’ proposed Rule 30(b)(6)
25 deposition topics. Plaintiffs also sought third-party discovery related to Ring’s security
26 vulnerabilities. Wolfson Decl. ¶ 18. Both areas of discovery were heavily contested
27 between the Parties and likely to result in discovery motion practice had the Settlement
28 not been achieved. Id.
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                  MEMORANDUM IN SUPPORT OF MOTION FOR FINAL APPROVAL
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 1         Plaintiffs spent considerable time and resources consulting with prospective
 2 experts on both the alleged hacking and data sharing aspects of the litigation, as well as
 3 potential damages models. Id. ¶ 19. The Parties also exchanged numerous additional
 4 documents and information in connection with mediation and settlement discussions. Id.
 5 Plaintiffs had sufficient information to evaluate the claims and negotiate a fair settlement.
 6 Id. ¶ 20.
 7         B.    Plaintiffs’ Settlement Efforts
 8         After being compelled to arbitration, each of the Purchaser Plaintiffs submitted an
 9 arbitration demand against Ring. Id. ¶ 21. Those arbitration proceedings were all brought
10 and managed by Co-Lead Counsel. Id. Cognizant of the distinct claims of the alleged
11 hacking victims versus those consumers who did not experience alleged hacking (“PII
12 Plaintiffs”), and on the advice of ethics counsel hired by Co-Lead Counsel, Co-Lead
13 Counsel separated the negotiations. Id. Ms. Wolfson and her firm negotiated with Ring to
14 address Ring’s allegedly unlawful information sharing practices on behalf of the entire
15 class, while Mr. Zavareei and Mr. Robinson negotiated individual settlements for the
16 alleged hacking victims. Id. ¶ 22.
17         In her independent role, Ms. Wolfson began exploring resolution of the PII privacy
18 claims at arm’s length, while continuing individual arbitration efforts on behalf of the PII
19 Plaintiffs. Id. ¶ 23. On behalf of the PII Plaintiffs, Ms. Wolfson and her team submitted a
20 mediation brief, attended three separate formal mediation sessions (on October 25, 2021,
21 June 2, 2022, and January 13, 2023) with Judge Gandhi, and engaged in numerous follow-
22 up mediation efforts both directly with Ring’s counsel and through Judge Gandhi.
23 Wolfson Decl. ¶ 23. The Parties reached a settlement in principle in November 2022, over
24 a year after their initial mediation. Id. ¶ 24. To say their negotiations were hard fought
25 would be an understatement, as the Parties went back and forth repeatedly on (1) the
26 nature of the Personal Information from Plaintiffs and Class Members that Ring had and
27 was still sharing with third parties, as well as the methods of collection, (2) the method
28 and content of disclosures to better put Plaintiffs, Class Members, and future Ring
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 1 customers on notice of those sharing practices, and (3) whether and how to implement a
 2 means to opt out of those practices while still utilizing Ring’s products and services. Id.
 3 ¶ 25.
 4         Even after reaching an agreement in principle for class resolution, the Parties’
 5 settlement negotiations remained hard fought and extensive. Id. ¶ 26. Plaintiffs’
 6 negotiations with Ring of a long-form settlement agreement took many more months,
 7 with multiple disagreements that again required Judge Gandhi’s involvement and
 8 guidance. Id. Ms. Wolfson and her firm consulted extensively with experts throughout
 9 these negotiations to explore and confirm the most effective means to curtail the alleged
10 data sharing practices and inform consumers through disclosures and policy changes. Id.
11 ¶ 27. Ultimately, the Parties achieved the instant Settlement when it was fully executed
12 on August 9, 2023, almost two years after their initial mediation session. Id. ¶ 28.
13         C.    Preliminary Settlement Approval and Notice to the Settlement Class
14         On September 22, 2023, Plaintiffs filed their Motion for Preliminary Approval of
15 Class Action Settlement (“Mot. Prelim. App.”), which included supporting documents,
16 declarations, and exhibits. Dkt. 269. As discussed therein, considering the arbitration
17 ruling and the risk and uncertainty of class certification and continued litigation, the
18 Settlement is an outstanding result for the Settlement Class.
19         On December 20, 2023, the Court preliminarily approved the Settlement, finding
20 the proposed Settlement “procedurally and substantively fair at [the] preliminary approval
21 stage.” See Order Granting Plaintiffs’ Motion for Preliminary Approval of Class Action
22 Settlement Agreement (“Prelim. App. Order”), Dkt. 271 at 1. In its Order, the Court
23 directed Plaintiffs’ counsel to “post information about the settlement on their website
24 prior to the final settlement approval hearing.” Id. In accordance with the Court’s Order,
25 information about the Settlement has been made available on Plaintiffs’ Counsel’s
26 website. Wolfson Decl. ¶ 35.3
27
    See https://www.ahdootwolfson.com/blog/settlement-of-ring-app-data-sharing-class-
      3
28 action-gets-preliminary-approval/; https://www.tzlegal.com/current-class-settlements/.
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 1          On January 4, 2024, the Parties filed a Joint Stipulation regarding a proposed final
 2 approval hearing date and related deadlines, which the Court granted. Dkts. 272-73. The
 3 Court scheduled the final approval hearing for April 1, 2024. Id. The deadline to submit
 4 any objections to the Settlement is March 11, 2024. Id.
 5                                III.    THE SETTLEMENT
 6         The Settlement provides significant relief to Class Members in exchange for the
 7 Releases and is summarized below.
 8          A.     The Settlement Class
 9          The Court preliminarily approved, for settlement purposes only, an injunctive relief
10 only class pursuant to Fed. R. Civ. P 23(b)(2) defined as follows:
11          [A]ll persons who purchased a Ring security device of any kind from Ring
            LLC and/or created a Ring account during the Class Period. Excluded from
12          the Settlement Class are Defendant and Defendant’s officers, agents, and
13          employees. Also excluded from the Settlement Class are Plaintiffs’ Counsel,
            any judicial officer presiding over the Action and members of their immediate
14          family, members of their judicial staff, and any judge sitting in the presiding
            court system who may hear an appeal of any judgment entered (the
15          “Settlement Class”).
16    Prelim. App. Order at 2; SA ¶ 23.
17          B.     Equitable Relief for the Settlement Class
18          The negotiated equitable relief under the Settlement is thorough. This relief is
19 designed to provide Class Members—as well as any other members of the public who use
20 Ring’s products and services in the future—the opportunity to meaningfully evaluate the
21 option to opt out of Ring sharing their Personal Information and to make informed choices
22 as to those practices.
23          As alleged in Plaintiffs’ SAC, an independent investigation found that Ring’s
24 mobile app integrated numerous third-party data trackers, including one operated by
25 Facebook. SAC ¶ 328. The data that was allegedly shared included Ring customers’
26 names, IP addresses, and—importantly—persistent identifiers and device tracking data
27 that companies utilize to create and maintain advertising profiles on consumers. Id. ¶¶
28 329-35, 338. Plaintiffs further alleged that, while Ring could remove these personal
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 1 identifiers from the data it shared with third parties, it did not, nor did it provide adequate
 2 notification or obtain adequate consent for such practices from the customers whose data
 3 it was sharing. Id. ¶¶ 336-37.
 4         The terms of the Settlement directly address these allegations by requiring Ring to
 5 update its user interface to prominently notify all existing and future Ring customers of
 6 its third-party data sharing practices, while simultaneously providing them with an easy
 7 method to opt out of these practices. Importantly, consumers maintain the ability to use
 8 Ring’s products and services after opting out. Ring’s data sharing notifications not only
 9 appear in its terms of service, but also as conspicuous notices in both new and existing
10 users’ account Control Center, alongside a conspicuous opt-out option. See SA Exs. C-D.
11 Prior to this Settlement, Plaintiffs alleged that Ring did not provide any such clear or
12 conspicuous disclosures or opt-out rights to its users, and Ring even removed information
13 and links to opt out of third-party data sharing on its website privacy policy, with nebulous
14 official statements as to when opting out was “applicable.” SAC ¶¶ 372-75.
15         The specific Settlement terms are as follows:
16         As of the Stipulation Effective Date, and in part as a result of this litigation, Ring
17 confirms that the Control Center and Cookie Preferences Manager offer its customers the
18 option to opt out of sharing their Personal Information for the purposes of third-party web
19 and app analytics as well as personalized advertising by third parties. See SA § III.B.
20         Ring shall continue to offer its United States customers the option to opt out of
21 sharing their Personal Information with the third-party service providers identified in
22 paragraphs 326 through 335 of the SAC, for purposes of third-party web and app analytics
23 as well as personalized advertising by third parties, for a period of (3) three years from
24 the Effective Date. SA § III.B.
25         Ring shall display the following, additional language in its United States Terms of
26 Service within 30 days of the Effective Date for a period of three (3) years from the date
27 it is posted, provided however that Ring may update this disclosure to ensure accuracy:
28
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              • We use third-party web and app analytics services on our websites and
 1              mobile apps. The service providers use automated technologies to
 2              collect and analyze information, including personal information (such
                as email, device identifier, and IP addresses) to understand how you use
 3              our websites and mobile apps. Web and app analytics services help us
                improve features, evaluate the effectiveness of our marketing, and,
 4              ultimately, optimize the customer experience. To learn more about
 5              these analytics services, please see our Cookie Policy.
              • If you have a Ring account, you can opt out of Ring sharing your
 6              personal information with third parties for third-party web and app
 7              analytics and personalized advertising by third parties. Please visit the
                Control Center and/or Cookie Preferences Manager to set your
 8              preferences.
 9 See SA § III.B.
10         Ring shall display the following, additional frequently asked question on Ring’s
11 United States website Privacy page within thirty (30) days of the Effective Date. Ring
12 shall display this additional language for a period of three (3) years from the date it is
13 posted, provided however that Ring may update this disclosure to ensure accuracy:
14            • Does Ring use third-party web and app analytics services on its
15              website and mobile apps? We use third-party web and app analytics
                services on our websites and mobile apps. The service providers use
16              automated technologies to collect and analyze information, including
                personal information (such as email, device identifier, and IP
17              addresses) to understand how you use our websites and mobile apps.
                Web and app analytics services help us improve features, evaluate the
18              effectiveness of our marketing, and, ultimately, optimize the customer
19              experience. To learn more about these analytics services, please see our
                Cookie Policy.
20            • If you have a Ring account, you can opt out of Ring sharing your
21              personal information with third parties for third-party web and app
                analytics and personalized advertising by third parties. Please visit the
22              Control Center and/or Cookie Preferences Manager to set your
                preferences.
23
24 See SA § III.B.
25         Within thirty (30) days of the Effective Date, Ring shall update its United States
26 Control Center language under “Third Party Service Providers” to contain the following
27 language or language that is similar: “You can opt out of Ring sharing your personal
28 information with third parties for third-party web and app analytics and personalized
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 1 advertising by third parties.” Ring shall display this language for a period of three (3)
 2 years from the date it is posted, provided however that Ring may update this disclosure
 3 to ensure accuracy.
 4         Within thirty (30) days of the Effective Date, Ring shall send a notice to all existing
 5 accountholders in the United States that informs them of Ring’s Privacy Notice and the
 6 opt out option and provides a conspicuous hyperlink to the opt out option. See SA § III.B
 7 and Ex. C. Ring will send the notice by e-mail.
 8         For a period of three (3) years after the Effective Date, Ring shall send an email to
 9 all persons who create a new account in the United States, after account registration is
10 completed, that informs them of Ring’s Privacy Notice and the opt out option and
11 provides a conspicuous hyperlink to the opt out option (“New Account Email”). Ring
12 shall begin sending New Account Emails within thirty (30) days of the Effective Date by
13 e-mail. See SA§ III.B and Ex. D. Ring may update the New Account Email as appropriate,
14 including to ensure accuracy, and update the notification method (e.g., by text, in-app
15 notification, or other equivalent notice to the accountholder). SA § III.B.
16         C.    The Releases
17         The Settlement releases only claims for non-monetary relief, such as injunctive
18 relief or other similar equitable relief on behalf of the Settlement Class. See SA ¶ 20
19 (“Released Settlement Class Claims”); and § III.K (Settlement Class Members’ Releases).
20 It does not release any claims on behalf of the Settlement Class for monetary damages.
21 Id. ¶ 20 (“For avoidance of doubt, if a claim or cause of action seeks both monetary and
22 equitable relief, only the equitable relief portion of the claim is being released by this
23 Settlement.”). The named Plaintiffs, on the other hand, are releasing their claims for
24 injunctive relief and monetary damages. Id. ¶ 19 (“Released Individual Claims” include
25 “any and all claims, demands, rights, actions, suits, damages, costs, fees, accounts, debts,
26 liens, injunctive relief, restitution, and causes of action of whatever kind, nature, or
27 description whatsoever, in law or in equity.”).
28
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           D.    Proposed Attorneys’ Fees and Expenses and Representative Plaintiffs’
 1
                 Service Awards
 2
 3         As set forth in Plaintiffs’ Motion for Attorneys’ Fees, Costs, Expenses, and Service
 4 Awards (“Fee Motion”), filed concurrently, Plaintiffs’ Counsel seek attorneys’ fees and
 5 expenses in the total amount of $475,000, which, after deducting expenses, represents a
 6 negative multiplier of approximately 0.36 on Plaintiffs’ Counsel’s total lodestar
 7 pertaining to the PII claims in this litigation through February 29, 2024. The Fee Motion
 8 also requests Service Awards of $5,000 for each of the five named Plaintiffs.
 9         As part of the Settlement, Plaintiffs and their counsel agreed that any requested
10 attorneys’ fees, costs, expenses, and service awards, combined, will not exceed $500,000,
11 and Ring agrees not to oppose such a request. SA § III.I. Ring has agreed to pay any
12 amount awarded by the Court up to a maximum of $500,000 total for attorneys’ fees and
13 expenses and Plaintiffs’ service awards, combined.
14         The Parties negotiated attorneys’ fees and expenses and representative plaintiff
15 service awards only after agreement was reached on all material terms of the Settlement.
16 SA § III.I.; Wolfson Decl. ¶ 30; see also In re Nat’l Football League Players Concussion
17 Injury Litig., 821 F.3d 410, 445 (3d Cir. 2016), as amended (May 2, 2016) (deferring
18 discussion of fees until after material settlement terms are agreed upon is a practice
19 routinely approved by courts). Class Members will have the opportunity to comment on
20 or object to the fee petition under Rule 23(h), consistent with Ninth Circuit authority. See
21 In re Mercury Interactive Corp. Sec. Litig., 618 F.3d 988, 993-94 (9th Cir. 2010).
22                                    IV.    ARGUMENT
23         A.    The Class Action Settlement Approval Process
24         Proceedings under Federal Rule of Civil Procedure 23 have led to a defined three-
25 step procedure for approval of class action settlements:
26         (1)   Certification of a settlement class and preliminary approval of
                 the proposed settlement after submission to the Court of a written
27               motion for preliminary approval.
28
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           (2)    Dissemination of notice of the proposed settlement to the
 1                affected class members.
 2         (3)    A formal fairness hearing, or final settlement approval hearing,
                  at which evidence and argument concerning the fairness,
 3                adequacy, and reasonableness of the settlement are presented.
 4
 5 Manual for Complex Litigation (Fourth) §§ 21.63 et seq. (Fed. Jud. Center 2004). This
 6 procedure safeguards Class Members’ procedural due process rights and enables the
 7 Court to fulfill its role as guardian of class interests. 4 Newberg on Class Actions, § 11:22
 8 et seq. (4th ed. 2002) (hereinafter “Newberg”).
 9         The Court completed the first step in the settlement approval process when it issued
10 the Preliminary Approval Order on December 20, 2023 (Prelim. App. Order, Dkt. 271),
11 and the second step—Notice to Class Members—has been provided by Plaintiffs’
12 Counsel, in accordance with the Court’s instructions. Wolfson Decl. ¶ 30. By this Motion,
13 Plaintiffs respectfully request that the Court take the third and final step and grant final
14 approval of the Settlement.
15         B.     Final Approval of the Settlement is Appropriate
16         Public policy “strong[ly] . . . favors settlements, particularly where complex class
17 action litigation is concerned.” In re Syncor ERISA Litig., 516 F.3d 1095, 1101 (9th Cir.
18 2008). In weighing final approval of a class settlement, the Court’s role is to determine
19 whether the settlement, taken as a whole, is fair, reasonable, and adequate. Staton v.
20 Boeing Co., 327 F.3d 938, 952 (9th Cir. 2003).
21         The Ninth Circuit has established a list of factors to consider when assessing
22 whether a proposed settlement is fair, reasonable, and adequate: (1) the strength of the
23 plaintiffs’ case; (2) the risk, expense, complexity, and likely duration of further litigation;
24 (3) the risk of maintaining class action status throughout the trial; (4) the benefits offered
25 in the settlement; (5) the extent of discovery completed and the stage of the proceedings;
26 (6) the experience and views of counsel; (7) the presence of a governmental participant;
27 and (8) the reaction of the class members to the proposed settlement. Churchill Village,
28 361 F.3d at 575; Hanlon, 150 F.3d at 1026.
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 1         This Court previously determined that the Settlement satisfies each of the
 2 requirements of Rule 23(e)(2). See Prelim. App. Order at 7-10. There is no reason to
 3 depart from the Court’s preliminary conclusion that the proposed Settlement is fair,
 4 adequate, and reasonable.
 5               1.     The Strength of Plaintiffs’ Case and the Risk, Expense,
                        Complexity, and Likely Duration of Further Litigation Weigh in
 6                      Favor of Settlement
 7         When evaluating the strength of a plaintiff’s case, a court should assess the
 8 plaintiff’s likelihood of success on the merits and the range of possible recovery.
 9 Rodriguez v. West Publishing Corp., 563 F.3d 948, 964-65 (9th Cir. 2009). The Court is
10 not required to “reach any ultimate conclusions on the contested issues of fact and law
11 which underlie the merits of the dispute, for it is the very uncertainty of the outcome in
12 litigation and avoidance of wasteful and expensive litigation that induce consensual
13 settlements.” Officers for Justice v. Civil Service Com’n of City and County of S.F., 688
14 F.2d 615, 625 (9th Cir. 1982).
15         The Settlement here appropriately balances the costs, risks, and likely delay of
16 further litigation, on the one hand, against the benefits provided, on the other hand. 4
17 Newberg § 11:50 at 155 (“In most situations, unless the settlement is clearly inadequate,
18 its acceptance and approval are preferable to lengthy and expensive litigation with
19 uncertain results.”).
20         The Settlement Class faced the very real possibility that Ring’s arbitration
21 agreement and class action waiver would be found valid and enforceable, at the very least
22 as to all Purchaser Plaintiffs and Class Members. Had the case continued, Ring’s
23 arbitration agreement and class action waiver likely would have prevented Class
24 Members from proceeding in court, let alone as a class action, effectively eliminating the
25 possibility of any comparable result. This class action likely ceased to exist for most Class
26 Members when the Court compelled the Purchaser Plaintiffs to individual arbitration.
27 Additionally, Ring appealed the portion of this Court’s order that denied its motion
28 compelling arbitration of the Non-Purchaser Plaintiffs’ claims, which, if successful, could
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 1 have resulted in risky and expensive individual arbitrations as the only recourse for all
 2 Plaintiffs’ and Class Members’ claims against Ring.
 3          The Settlement is an excellent result given this arbitration posture, as it requires
 4 Ring to address the practices that Plaintiffs alleged were unlawful to the benefit of all
 5 Class Members. At the same time, because there is no release of claims for monetary
 6 relief, Class Members are in the same posture as they were before as to those claims.
 7          Even absent the likelihood of compelled individual arbitration, Plaintiffs’ hurdles
 8 in this case would still be considerable. To achieve class certification, extensive and
 9 expensive expert analysis would be required, and Plaintiffs ultimately would have to
10 prove that damages can be quantified using accepted principles of economics that are
11 uniform to the entire Class. See, e.g., Comcast Corp. v. Behrend, 569 U.S. 27, 34-35
12 (2013).
13          Although Plaintiffs firmly believe their liability case is strong and that class
14 certification is warranted, it is uncertain whether the Court ultimately would grant
15 certification and deny a motion for summary judgment filed by Ring. Even if Plaintiffs
16 obtained class certification, successfully opposed a motion for summary judgment, and
17 subsequently proved liability at trial, they still would face the significant risk of
      recovering nothing for Class Members because the amount of damages is uncertain.
18
            Given the heavy obstacles and significant risks of continued litigation in this case—
19
      risks that might defeat any recovery at all—the immediate and tangible benefits the
20
      Settlement provides by way of substantive change in corporate behavior favor its
21
      approval.
22
                  2.     Plaintiffs Face the Challenge of Maintaining Class Action Status
23                       Leading up to and Through Trial
24          As pointed out above, certification would have been hotly disputed and the
25 outcome uncertain. A district court’s order granting class certification under Rule 23 is
26 “inherently tentative” and is “subject to revision,” so Ring would have been able to move
27 for de-certification at any time before trial. Coopers v. Lybrand & Livesay, 437 U.S. 463,
28 469 n.11 (1978).
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 1         A denial or reversal of class certification would effectively extinguish any hope of
 2 recovery by the Settlement Class. Even if Plaintiffs were to win class certification, there
 3 would remain a risk of losing on summary judgment or at a jury trial. And even if
 4 Plaintiffs prevailed at trial, any judgment or order granting class certification could be
 5 reversed on appeal and, even if Plaintiffs prevailed on appeal, the appellate process would
 6 delay any recovery to the Settlement Class, possibly for years. By contrast, the Settlement
 7 addresses Plaintiffs’ allegations and provides for meaningful and immediate changes to
 8 Ring’s practices.
 9               3.     The Relief Offered in the Settlement Weighs in Favor of Approval
10         There is no “particular formula by which th[e] outcome must be tested.” Rodriguez
11 v. W. Publ’g Corp., 563 F.3d 948, 965 (9th Cir. 2009). Rather, the Court’s assessment of
12 the likelihood of success is “nothing more than an amalgam of delicate balancing, gross
13 approximations and rough justice.” Id. (internal quotation marks and citation omitted).
14 Factors considered include “the likelihood of a plaintiffs’ or defense verdict, the potential
15 recovery, and the chances of obtaining it, discounted to a present value.” Id. “In most
16 situations, unless the settlement is clearly inadequate, its acceptance and approval are
17 preferable to lengthy and expensive litigation with uncertain results.” Nat’l Rural
18 Telecomm’s Coop. v. DIRECTV, Inc., 221 F.R.D. 523, 526 (C.D. Cal. 2004) (quotation
19 marks and citation omitted).
20         Privacy damages are particularly uncertain and numerous privacy class actions
21 have been settled for non-monetary relief. See, e.g., Adkins v. Facebook, Inc., No. 18-cv-
22 5982, 2021 WL 1817047, at *2-3 (N.D. Cal. May 6, 2021) (granting final approval of
23 data breach settlement providing only injunctive relief); Campbell v. Facebook Inc., No.
24 13-cv-5996, 2017 WL 3581179, at *8 (N.D. Cal. Aug. 18, 2017) (granting final approval
25 of declaratory and injunctive relief settlement in litigation alleging Facebook engaged in
26 user privacy violations), aff’d, 951 F.3d 1106 (9th Cir. 2020).
27         Other courts have granted final approval of settlements in which defendants have
28 agreed to change business practices to comply with the law without monetary relief to the
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 1 class. See, e.g., In re Colgate Palmolive Softsoap Antibacterial Hand Soap Mktg. & Sales
 2 Practices Litig., No. 12-md-2320, 2015 WL 7282543, at *2, *10-13 (D.N.H. Nov. 16,
 3 2015) (granting final approval of settlement that required the defendant to cease using
 4 allegedly misleading marketing statements, without releasing class members’ monetary
 5 claims, because “[t]he proposed settlement provides a benefit equal to, or greater than,
 6 what class members would likely achieve through continued litigation”); Kim v. Space
 7 Pencil, Inc., No. 11-cv-3796, 2012 WL 5948951, at *6 (N.D. Cal. Nov. 28, 2012) (court
 8 approved a settlement which “stop[ped] the allegedly unlawful practices, bar[red]
 9 Defendant from similar practices in the future, and d[id] not prevent the class members
10 from seeking legal recourse.”).
11         In contrast to zero, which is what Class Members might well receive had the case
12 continued, the Settlement provides meaningful equitable relief designed to address Ring’s
13 alleged data sharing practices. Though the Settlement does not include monetary relief, it
14 does not prevent Class Members from seeking monetary relief for the alleged conduct as
15 the Settlement Class will only be releasing claims for non-monetary relief. See SA ¶ 20
16 (“Released Settlement Class Claims”); and § III.K (Settlement Class Members’ Releases).
17 The Settlement does not release any claims on behalf of the Settlement Class for monetary
18 damages. Id. ¶ 20 (“For avoidance of doubt, if a claim or cause of action seeks both
19 monetary and equitable relief, only the equitable relief portion of the claim is being
20 released by this Settlement.”). Settlement Class Members are free to pursue monetary
21 remedies against Ring arising from the same conduct alleged here.
22         Only the named Plaintiffs will be releasing claims for monetary damages. See SA
23 ¶ 19 (Released Individual Claims). The Released Settlement Class Claims (SA ¶ 20) are
24 therefore limited in nature and tailored exactly to the type of relief obtained for the
25 Settlement Class (i.e., equitable relief). This factor weighs in favor of final approval.
26                4.    The Parties Engaged in Significant Pre-Trial Motion Practice,
                        Conducted Extensive Discovery, Research, and Analysis to
27                      Adequately Assess the Strengths and Weaknesses of the Claims
28         This factor evaluates whether the parties have sufficient information to make an
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 1 informed decision with respect to settlement. In re Mego Fin. Corp. Sec. Litig., 213 F.3d
 2 454, 459 (9th Cir. 2000). “In the context of class action settlements, as long as the parties
 3 have sufficient information to make an informed decision about settlement, formal
 4 discovery is not a necessary ticket to the bargaining table.” Bellinghausen v. Tractor
 5 Supply Co., 306 F.R.D. 245, 257 (N.D. Cal. 2015) (internal quotation omitted). “Rather,
 6 the court’s focus is on whether the parties carefully investigated the claims before reaching
 7 a resolution.” Id. (internal quotation omitted).
 8         This factor weighs heavily in favor of approving the instant Settlement. By the time
 9 the Parties reached the Settlement, they had engaged in significant pre-trial motion
10 practice, conducted extensive discovery, and spent considerable time and resources
11 consulting with experts. Wolfson Decl. ¶¶ 6, 10-27.
12         Plaintiffs’ Counsel conducted extensive factual investigation in this matter,
13 including, inter alia: significant pre-filing investigations, which included detailed review
14 and evaluation of the facts, including a thorough and exhaustive investigation of issues
15 related to Ring’s alleged violations of its customers’ security and privacy, and
16 comprehensive research and analysis of the applicable law, including relating to Ring’s
17 arbitration agreement. Wolfson Decl. ¶¶ 6, 19-20. Plaintiffs’ Counsel interviewed and
18 conducted a detailed vetting of numerous potential named plaintiffs from across the
19 United States. Id. ¶ 10. In all phases of the litigation, Plaintiffs’ Counsel endeavored to
20 gain an ample understanding of the legal issues underlying Plaintiffs’ claims. Id. ¶ 19.
21         The breadth of information gleaned from their extensive discovery and
22 investigation efforts allowed Class Counsel to weigh the likelihood of the success of
23 Plaintiffs’ claims and estimate individual damages associated with Plaintiffs’ claims. Id.
24 ¶¶ 19-20. This important work also allowed Class Counsel to formulate a litigation
25 strategy aimed at obtaining meaningful relief for the Settlement Class as efficiently as
26 possible. Id.
27         Plaintiffs spent considerable time and resources consulting with prospective
28 experts on both the alleged hacking and data sharing aspects of the litigation, as well as
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 1 potential damages models. Id. The Parties also exchanged numerous additional
 2 documents and information in connection with mediation and settlement discussions. Id.
 3         This work gave Plaintiffs’ Counsel sufficient knowledge to understand the strength
 4 and weaknesses of Plaintiffs’ claims and to negotiate a fair and equitable settlement. Id.
 5 Plaintiffs’ Counsel fully endorse the Settlement as fair, reasonable, and adequate and in
 6 the best interests of the Settlement Class. Wolfson Decl. ¶¶ 7, 56-58.
 7                5.     The Recommendations of Experienced Counsel Favor Final
 8                       Approval
 9         “Great weight is accorded to the recommendation of counsel, who are most closely
10 acquainted with the facts of the underlying litigation . . . because parties represented by
11 competent counsel are better positioned than courts to produce a settlement that fairly
12 reflects each party’s expected outcome in the litigation.” Nat’l Rural Telecomms. Coop.
13 v. DIRECTV, Inc., 221 F.R.D. 523, 528 (C.D. Cal. 2004); see also Rodriguez, 563 F.3d
14 at 697 (“Parties represented by competent counsel are better positioned than courts to
15 produce a settlement that fairly reflects each party’s outcome in litigation.”).
16         Plaintiffs are represented by attorneys who were previously appointed by the Court
17 to represent the interests of the Settlement Class after careful consideration of their
18 qualifications. See Dkts. 19, 64. Plaintiffs’ Counsel have extensive experience and
19 expertise in prosecuting complex class actions, including consumer protection and
20 privacy class actions. Dkt. 64; Wolfson Decl. ¶¶ 51-55. Plaintiffs’ Counsel were informed
21 of the facts, claims, and defenses in this action, as well as the risks of proceeding to trial,
22 and endorse the Settlement without reservation. Wolfson Decl. ¶¶ 7, 56-58; see also
23 concurrently filed Declarations of Daniel S. Robinson (“Robinson Decl.”) ¶¶ 2, 13-14,
24 and Hassan A. Zavareei (“Zavareei Decl.") ¶¶ 2, 9-10; Rodriguez, 563 F.3d at 967
25 (“[P]arties represented by competent counsel are better positioned than courts to produce
26 a settlement that fairly reflects each party’s expected outcome in litigation[.]”).
27
28
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                 6.     The Settlement is the Product of Informed Arm’s-Length
 1                      Negotiations
 2         Courts typically scrutinize the negotiated settlement “not only for explicit
 3 collusion, but also for more subtle signs that class counsel have allowed pursuit of their
 4 own self-interests and that of certain class members to infect the negotiations.” Haralson
 5 v. U.S. Aviation Servs. Corp., 383 F. Supp. 3d 959, 966 (N.D. Cal. 2019) (quoting In re
 6 Bluetooth Headsets Litig., 654 F.3d 935, 946–47 (9th Cir. 2011)). Where, as here, the
 7 settlement is for injunctive relief purposes only and class members do not release any
 8 monetary claims, the heightened scrutiny of a collusion analysis is inapplicable. Moreno
 9 v. San Francisco Bay Area Rapid Transit Dist., No. 17-cv-2911, 2019 WL 343472, at *3
10 n.2 (N.D. Cal. Jan. 28, 2019); see also Campbell, 2017 WL 3581179, at *5 (“Arguably,
11 [the] Bluetooth [collusion analysis] is not even applicable to this settlement because it
12 does not involve a Rule 23(b)(3) damages class” because “there is no common fund,
13 ‘constructive’ or otherwise: the certified class is injunctive-relief-only, and monetary
14 damages claims are not at issue”).
15         To the extent heightened scrutiny is applied to this Settlement, the Court can be
16 confident of the arm’s-length nature of the negotiation process. Here, such an evaluation
17 demonstrates not only that the Bluetooth factors are inapplicable to the instant Settlement,
18 but that Plaintiffs’ Counsel have not “allowed pursuit of their own self-interests and that
19 of class members to infect the negotiations.” Bluetooth, 647 F.3d at 947 (evaluating
20 factors of collusion, including whether counsel would receive a disproportionate
21 distribution of the settlement, whether the settlement includes a “clear sailing”
22 arrangement, and whether the settlement permits a reversion of class funds back to the
23 defendant).
24         Although this Settlement includes a clear sailing provision, such provisions are
25 “not prohibited” (Bluetooth, 647 F.3d at 949) and the clear sailing provision here readily
26 withstands “great[] scrutiny” (id.) because (1) the Parties did not discuss or negotiate
27 attorney fees, expenses, or representative plaintiff service awards until reaching an
28 agreement in principle on Class resolution; (2) because this is solely an injunctive relief
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 1 settlement, there is no settlement fund from which unawarded money will revert to Ring,
 2 and the Settlement Class is not releasing monetary claims; (3) any Court-approved fee
 3 award will not reduce any Settlement Class benefits; (4) the proposed fee award represents
 4 a significant negative multiplier to Plaintiffs’ Counsel’s lodestar; and (5) the Settlement
 5 is not conditioned on the approval of Plaintiffs’ attorney fee request. Wolfson Decl. ¶¶
 6 30, 38, 56.
 7         This litigation was hard-fought, and the Settlement was reached only after
 8 extensive, arm’s length negotiations that spanned nearly two years and followed extensive
 9 discovery, motion practice, and formal mediations. See Wannemacher v. Carrington
10 Mortg., No. 12-cv-2016, 2014 WL 12586117, at *8 (C.D. Cal. Dec. 22, 2014) (finding no
11 signs of collusion where “significant . . . discovery [was] conducted”; and before
12 “exploring settlement, the parties litigated the case for a year”); see also Moreno, 2019
13 WL 343472, at *5 (that the parties engaged in substantial motion practice and thus have
14 had an opportunity to evaluate the strength and weaknesses of the relative claims and
15 defenses weighs in favor of settlement approval). The Settlement is the product of lengthy
16 arm’s-length negotiations over the course of two years between experienced counsel
17 overseen by the Honorable Jay C. Gandhi (Ret.), an experienced neutral mediator. See
18 Bluetooth, 654 F.3d at 948 (finding that engaging in formal mediation with an experienced
19 mediator weighs “in favor of a finding of non-collusiveness”); Pederson v. Airport
20 Terminal Servs., No. 15-cv-2400, 2018 WL 2138457, at *7 (C.D. Cal. April 5, 2018) (the
21 oversight “of an experienced mediator” reflected non-collusive negotiations).
22         In connection with the mediation, the Parties exchanged extensive briefing which
23 educated both sides on the risks of continuing litigation. Wolfson Decl. ¶ 23. When
24 negotiations began, Plaintiffs had a clear view of the strengths and weaknesses of their
25 case and were in a strong position to make an informed decision regarding the
26 reasonableness of a potential settlement. Id. Despite not reaching agreement during three
27 formal mediation sessions, the Parties continued their hard-fought negotiations for over a
28 year after mediation until reaching a detailed settlement in principle for the instant
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 1 injunctive relief. Id. ¶ 24.
 2         Even after reaching an agreement in principle for class resolution, the Parties’
 3 settlement negotiations remained hard fought and extensive. Id. ¶¶ 25-26. Plaintiffs’
 4 negotiation with Ring of a long-form settlement agreement took many more months, with
 5 multiple disagreements that again required Judge Gandhi’s involvement and guidance at
 6 times. Id. The Parties engaged in intense back-and-forth negotiations regarding every
 7 detail of the Settlement, and they did not finalize their Settlement Agreement until August
 8 2023—almost two years after their initial mediation session. Id. ¶¶ 25-28. There is no
 9 indication of collusion or fraud in the settlement negotiations, and none exists.
10         C.    Class Action Treatment is Appropriate for this Settlement.
11         “Parties seeking class certification must satisfy each of the four requirements of
12 Rule 23(a) — numerosity, commonality, typicality, and adequacy[.]” Briseno v. ConAgra
13 Foods, Inc., 844 F.3d 1121, 1124 (9th Cir. 2017). In its Preliminary Approval Order, the
14 Court found that the Settlement Class could be certified as defined in ¶ 23 of the
15 Settlement Agreement. See Prelim. App. Order at 12. In doing so, the Court found that
16 the representative Plaintiffs satisfied both Rule 23(a) and (b)(2) requirements, and that
17 Plaintiffs’ Counsel were adequate representatives of the Settlement Class. Id. at 13. As
18 demonstrated below, there is no reason for the Court to depart from its previous
19 conclusion that certification of the Settlement Class is warranted, and no party argues
20 otherwise.
21
                 1.     The Criteria for Class Certification Under Rule 23(a) Are
22                      Satisfied
23                      a.        Numerosity
24         Numerosity is satisfied where “joinder of all [class] members is impracticable.”
25 Hanlon, 150 F. 3d at 1019. Courts have routinely found the numerosity requirement
26 satisfied when the class comprises 40 or more members. Collins v. Cargill Meat Sols.
27 Corp., 274 F.R.D. 294, 300 (E.D. Cal. 2011). The Settlement Class here encompasses
28 over one million Class Members. Wolfson Decl. ¶ 34; see Prelim. App. Order at 12 (“This
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 1 is more than enough to satisfy Rule 23(a)(1)’s numerosity requirement.”). Joinder of more
 2 than a million persons who purchased a Ring security device of any kind from Ring and/or
 3 created a Ring account within the Class Period is impractical, if not impossible. Wolfson
 4 Decl. ¶ 34. Numerosity is satisfied.
 5                      b.     Common Issues of Law and Fact Exist, and Plaintiffs’
 6                             Claims Are Typical of Class Claims
 7         Rule 23(a)(2) requires that “there are questions of law or fact common to the class.”
 8 Commonality “has been construed permissively [where] ... [t]he existence of shared legal
 9 issues with divergent factual predicates is sufficient, as is a common core of salient facts
10 coupled with disparate legal remedies within the class.” Hanlon, 150 F.3d at 1019.
11         Typicality refers to the nature of the class representatives’ claims, not to the specific
12 facts from which they arose or the particular relief sought. Representative claims “are
13 ‘typical’ if they are reasonably co-extensive with those of absent class members; they
14 need not be substantially identical.” Id. at 1020.
15         Plaintiffs’ claims are typical of, and common to, the Settlement Class. Plaintiffs
16 contend that the Settlement Class claims all arise from a common course of conduct by
17 Ring towards each Class Member: Ring’s allegedly improper sharing of its users’
18 sensitive personal information with third parties without first obtaining users’
19 authorization or consent. Because “Plaintiffs’ claims are premised on exactly the same
20 practice as those of the absent Settlement Class members . . . . the typicality requirement
21 is satisfied.” Prelim. App. Order at 12.
22
                        c.     Plaintiffs and Their Counsel Adequately Represent Class
23                             Members
24         Rule 23(a)(4) permits class certification if the “representative parties will fairly and
25 adequately protect the interests of the class.” Fed. R. Civ. P. 23(a)(4). This factor requires
26 (1) that the proposed representative Plaintiffs do not have conflicts of interest with the
27 proposed class, and (2) that Plaintiffs are represented by qualified and competent counsel.
28 Hanlon, 150 F.3d at 1020.
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 1         Here, Plaintiffs’ interests are aligned with the Settlement Class, as they do not have
 2 any conflicts of interest with the Settlement Class and their claims are coextensive with
 3 those of Class Members; the Settlement also does not afford them preferential treatment.
 4 Moreover, they have established their adequacy by securing experienced counsel to
 5 litigate their claims and secured the proposed Settlement, which, if approved, will convey
 6 a substantial benefit on the Settlement Class.
 7         Plaintiffs have also been active participants in the litigation. Wolfson Decl. ¶ 29.
 8 They investigated the matter prior to and after retaining their respective attorneys,
 9 participated in the plaintiff vetting process implemented by Plaintiffs’ Counsel, reviewed,
10 and approved their original complaints, participated in preparing initial disclosures,
11 understood that they may have to sit for a deposition, kept in contact with counsel to
12 monitor the progress of the litigation, and reviewed and communicated with their counsel
13 regarding the Settlement Agreement. Id.
14         Plaintiffs’ Counsel are well qualified and experienced in complex class action
15 litigation and have an established track record in litigating cases involving consumer
16 protection and consumer privacy. Wolfson Decl. ¶¶ 51-56. Further, this Court already
17 determined that Plaintiffs’ Counsel are suitable Interim Class Counsel. See Dkts. 19, 64;
18 see also Prelim. App. Order at 14 (“Plaintiffs’ counsel has substantial experience
19 litigating similar types of class actions, and there is no reason to believe that Plaintiffs
20 and their counsel would not vigorously pursue this action on behalf of the Settlement
21 Class.”).
22                2.     Class Certification is Appropriate Under Rule 23(b)(2)
23         Under Rule 23(b)(2), a class action is properly certified where the party against
24 whom relief is sought “has acted or refused to act on grounds that apply generally to the
25 class, so that injunctive relief . . . is appropriate respecting the class as a whole.” Fed. R.
26 Civ. P. 23(b)(2). “It is sufficient if class members complain of a pattern or practice that is
27 generally applicable to the class as a whole. Even if some class members have not been
28 injured by the challenged practice[.]” Walters v. Reno, 145 F.3d 1032, 1047 (9th Cir.
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 1 1998). Further, “[a]lthough common issues must predominate for class certification under
 2 Rule 23(b)(3), no such requirement exists under 23(b)(2).” Id.
 3         Plaintiffs complain of the same alleged business practices—i.e., the unauthorized
 4 use and dissemination of their Personal Information—that are generally applicable to the
 5 Settlement Class. Moreover, Ring’s alleged actions generally apply to the Settlement
 6 Class as a whole. Importantly, the prospective injunctive relief provides a direct benefit
 7 sought through this litigation based on Ring’s alleged third-party data sharing practices.
 8 This relief not only benefits Plaintiffs and Class Members, but any other member of the
 9 public who seeks to utilize Ring’s products and services in the future.
10         The alleged privacy violations at the heart of this case—Ring’s alleged
11 surreptitious collection and sharing of Personal Information with numerous third-party
12 data app trackers without sufficient notice or consent—are remedied by the prospective
13 relief proposed in this Settlement, such that all current and future Ring customers will be
14 on adequate notice of Ring’s third-party data sharing practices and be empowered to
15 choose whether to allow their data to be subject to those practices while utilizing Ring’s
16 products and services. Ring has agreed to change its disclosures and to make its opt-out
17 policy more conspicuous for all users, so that all existing and future customers now can
18 make informed decisions about how Ring shares their data with other companies. Rule
19 23(b)(2) certification of the Settlement Class is appropriate.
20         D.    Notice Was Provided in Accordance With The Court’s Order
21         Unlike a Rule 23(b)(3) class, where notice is mandatory, Rule 23(c)(2) states that,
22 “[f]or any class certified under Rule 23(b)(1) or (b)(2), the court may direct appropriate
23 notice to the class.” Fed. R. Civ. P. 23(c)(2) (emphasis added). “Courts typically require
24 less notice in Rule 23(b)(2) actions, as their outcomes do not truly bind class members”
25 and there is no option for class members to opt out. Lilly v. Jamba Juice Co., No. 13-cv-
26 2998, 2015 WL 1248027, *8-9 (N.D. Cal. Mar. 18, 2015) (holding that because the
27 settlement class would not have the right to opt out from the injunctive settlement and the
28 settlement does not release the monetary claims of class members, class notice is not
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 1 necessary); see also Wal-Mart Stores, Inc. v. Dukes, 131 S. Ct. 2541, 2558 (2011) (Rule
 2 23 “provides no opportunity for (b)(1) or (b)(2) class members to opt out, and does not
 3 even oblige the District Court to afford them notice of the action.”).
 4         District courts have often determined that no notice is required for injunctive relief
 5 only settlements that do not release any monetary claims. See, e.g., Lilly, 2015 WL
 6 1248027, at *9; Jermyn v. Best Buy Stores, L.P., No. 08-cv-214, 2012 WL 2505644, at
 7 *12 (S.D.N.Y. June 27, 2012) (“Because this injunctive settlement specifically preserves
 8 and does not release the class members’ monetary claims, notice to the class members is
 9 not required”).
10         Here, the Settlement provides for equitable relief only and preserves the rights of
11 Settlement Class Members to bring claims for monetary relief against Ring. See SA §
12 III.K. Further, even with notice, Settlement Class Members would not have the right to
13 opt out. See Lilly, 2015 WL 1248027, at *9.
14         “Based on the circumstances of this action,” the Court concluded that “no
15 individual, direct notices to Settlement Class members is required.” Prelim. App. Order
16 at 15. Nevertheless, the Court concluded that “in addition to serving the required CAFA
17 notices to state and federal officials, Plaintiffs’ Counsel is required to post information
18 about the settlement on their website prior to the final settlement approval hearing.” Id.4
19         In accordance with the Court’s Order, information about the Settlement has been
20 made available on Plaintiffs’ Counsel’s website. Wolfson Decl. ¶ 35.5
21                                   V.      CONCLUSION
22         For the reasons discussed herein, Plaintiffs respectfully request that final approval
23 of the Class Action Settlement be granted.
24
25
26
27   Notice has been issued pursuant to the Class Action Fairness Act, 28 U.S.C. § 1715, and
      4

   no governmental entity has intervened. Wolfson Decl. ¶ 35.
28 5 See supra note 3.
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